Case 2:02-Cr-20215-BBD Document 83 Filed 06/24/05 Page 1 of 2 Page|D 77

UNITED sTATEs DISTRICT coURT F**--‘¢"if? M D"J'
wEsTERN DIsTRICT 0F TENNESSEE

Western Division 05 JUN 214 AH 81 28
.__ ,. :. `:_{' E» Ts“;OL;,»\
UNITED STATES OF AMERICA éL|LA' US bisr."r_ C\T"z
W.D. CF TN. MEMFH¥$
'Vs' Case No. 2:02cr20215-1-D

ERIC DORMAYER

 

ORDER OF DETENTION PENDING TRlAL
FlNDlNGS
In accordance With the Bail Refonn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: June 23, 2005 é‘_/E-M_{ @:`

S. THOMAS ANDERSON
UNITED S'[`ATES MAGISTRATE JUDGE

This document entered on the dock shea l com ||ance
With Ru|e 55 and/or 32(b) FHGrP on; tQ 124 125

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 83 in
case 2:02-CR-20215 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lernphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lernphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

